Case 4:22-cv-02001-CWIDCOMER SHEED 03/29/22 PAéda1 bt 2

The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings orother papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheei (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM) .

I. (a) PLAINTIFFS
James Helfar ol

-ounty of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

Manin

(c) Attorneys (Firm Name, Address, and Telephone Number)

Pre ¢-é

 

DEFENDANTS
t Murlhr, Cart bbe
Yan | r CY ar Smnr-Rafage

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

* Attorneys (If Known) 2, el = 200 ( vA

 

 

 

 

 

 

   
   

 

 

 

 

 

 

      
    

  
  
  

II. | BASIS OF JURISDICTION (Place an “Xx” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
‘For Diversity Cases Only, and One Box for Defendant
ly
1 US.G Plaintiff A vet 1 Questi iv) yf pre DEF
.S. Government Plainti ederal Question sti : inci
(US. Government Not a Party) Citizen of This State 1 1 Incorporated or Principal Place 4 4
of Business In This State
2 USG t Defendant 4 Diversit Citizen of Another State 2 2 Incorporated and Principal Place 5 5
*. Government Detendan! IVCISUY’ 4 fe of Business In Another State
T Hs h Part IL '
idntoaterCitibenship wf Palas tn. teers 22) Citizen or Subject of a 3 3 Foreign Nation 6 6
Foreign Country
IV. NATURE OF SUIT (Place an “X”" in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY 625 Drug Related Seizure of 422 Appeal 28 USC § 158 | 375 False Claims Act
120 Marine 310 Aiplane 365 Personal Injury — Product Property 21 USC § 881 423 Withdrawal 28 USC |_-- 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Liability Liability 620 Other 27 § 3722%9))
140 Negotiable Instrument 320 Assault, Libel & Slander 367 Health Care/ LABOR PROPERTY RIGHTS 400 State Reapportionment
150 Recovery of 330 Federal Employers’ eae Eel 710 Fair Labor Standards Act , 820 Copyrights 400 Anttiniat .
Overpayment OF Liability ee a anae, | RU labanlbdeamerrett 830 Patent 430 Banks and Banking
Veteran’s Benefits ‘ 368 Asbestos Personal Injury . e . 450 Commerce
151 Medicare Act 340 Marine Product Liability Relations 835 Patent—Abbreviated New :
159 ne 345 Marine Product Liability PiRSONAL.RROPERTY 740 Railway Labor Act | Drug Application 460 Deportation
5 Soni arte fiean des | 350 Motor Vehicle 370 Other Fraud 751 Family and Medical 840 Trademark 470 Racketeer Influenced &
Veteratis) 355 Motor Vehicle Product 7 en Leave Act 880 Defend Trade Secrets Corrupt Organizations
153 Recovery of ly 371 Truth in Lending 790 Other Labor Litigation Act of 2016 480 Consumer Credit
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v stockholders’ Su Liability mi 862 Black Lung (923) 850 Securities/Commodities/
Ios Onn cmd viability |__CLVIE RIGHTS PRISONER PETITIONS | 4° sae 863 DIWC/DIWW (405(g)) Exchange
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toe oii, ct Liability | 7 440 Other Civil Rights HABEAS CORPUS 465 Other Immigration es saicune . 890 Other Statutory Actions
441 Voting 463 Alien Detainee Actions E 3 am leatiarsl an
REAL PROPERTY 510 Motions to Vacate FEDERAL TAX SUITS 893 Environmenta Matias
210 Land Condemnktion Sentence 870 Taxes (U.S. Plaintiff or 895 Freedom of Information
220 Foreclosure ommodations 530 General | Defendant) ae ;
230 Rent Lease & Ejectment | 445 Amer. w/Disabilities— 535 Death Penalty 871 IRS-Third Party 26 USC | 896 Arbitration
240 Torts to Land Employment OTHER § 7609 899 *siciesive Eosetite ;
ahi], 446 Amer. w/Disabilities—Other eu SEVIEW OF ADpeahO
245 Tort Product Liability : 540 Mandamus & Other Agency Decision
290 All Other Real Property | 448 Education 550 Civil Rights 950 Constitutionality of State

 

 

555 Prison Condition

560 Civil Detainee—
Conditions of
Confinement

 

 

Statutes

 

fo ORIGIN (Place an “X” in One Box Only)

 

“1 Original 2 Removed from 3. Remanded from 4 Reinstated or 5 Transferred from 6 Miultidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District (specify) Litigation—Transfer Litigation—Direct File
7T. CAUSE OF Cite the U.S. Civil S

Use t4

e under which you are filing (Do not cite feriadictoned petates unless diversity):

 

 

 

 

ACTION USC | vySC 148 USC 233/
Brief descrintion of cause:
ee

"Il. REQUESTEDIN  CHECKIFTHISISACLASSACTION DEMANDS 9 C@&7¢Y. g CHECK YES only if demandepin complaint:

COMPLAINT: UNDER RULE 23, Fed. R. Civ. P. than. 2 fo 0 JURY DEMAND: Yes No
‘II. RELATED CASE(S), JUDGE DOCKET NUMBER

"KF ANY (See instructions):
X, WIVISIONAL ASSIGN MEN? (Civil Local Rule 3-2)
lace an “X” in One Box Only) SAN FRANCISCO/OAKLAND SAN JOSE EUREKA-MCKINLEYVILLE

\ATE

3-24-22

SIGNATURE OF ATTORNEY OF RECORD
JS-CAND 44 (rev. 10/2020)

Case 4:22-cv-02001-JSW Document 1-1 Filed 03/29/22 Page 2 of 2
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cy ver Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial

(  “srence of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is

»  aitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I. a)

b)

c)

II.

Til.

IV.

VI.

VII.

VIII.

Date

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment).”

Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

(1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
(2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

(3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
takes precedence, and box 1 or 2 should be marked.

(4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
Mark this section for each principal party.

Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
one nature of suit, select the most definitive.

Origin. Place an “X” in one of the six boxes.
(1) Original Proceedings. Cases originating in the United States district courts.

(2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
petition for removal is granted, check this box.

(3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

(4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

(5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

(6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
§ 1407. When this box is checked, do not check (5) above.

(8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.

Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.

 

Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”

and Attorney Signature. Date and sign the civil cover sheet.
